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                     EXHIBIT A
                     Case 4:07-cv-05944-JST Document 1477-1 Filed 12/05/12 Page 2 of 6




From:                                    Lau, Albie <alau@whitecase.com>
Sent:                                    Wednesday, November 07, 2012 8:01 AM
To:                                      Nevins Sarah
Cc:                                      Purcell, Noah G. (Perkins Coie); Naifeh, Charise
Subject:                                 draft report and recommendation regarding Toshiba's motion to compel arbitration
Attachments:                             image003.jpg; 11-07-2012 draft report and recommendation re motion to compel
                                         arbitration.pdf; 11-07-2012 draft report and recommendation re motion to compel
                                         arbitration.DOCX


Sarah-

During last week’s hearing, Judge Legge asked that we draft a report and recommendation for him. The draft is attached
(both as a .pdf as well as a Word document). The draft incorporates the edits provided by Mr. Purcell, counsel for
Costco. Please provide the draft to Judge Legge.

Thanks,

Albie

Lucius B. (Albie) Lau | Counsel
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White & Case LLP | 701 Thirteenth Street, NW | Washington, DC 20005-3807
 m   m   m   m   V




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 1   Hon. Charles A. Legge (Ret.)
     JAMS
 2
     Two Embarcadero Center, Suite 1500
 3   San Francisco, CA 94111
     Telephone: (415) 774-2644
 4
     Fax: (415) 982-5287
 5   Special Master
 6
 7                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
 8
                              (SAN FRANCISCO DIVISION)
 9
10
     IN RE: CATHODE RAY TUBE (CRT)                       Case No. 07-5944 SC
11   ANTITRUST LITIGATION                                  MDL No. 1917
12
13   This Document Relates to:
14
     Case No. C 11-6397 SC
15
     COSTCO WHOLESALE CORPORATION,
16                                                 REPORT AND
                                                   RECOMMENDATION
17                               Plaintiff,
                                                   REGARDING THE TOSHIBA
18                                                 DEFENDANTS’ MOTION TO
                 v.
                                                   COMPEL ARBITRATION
19
     HITACHI, LTD., et al.,
20
21                               Defendants.
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                         REPORT AND RECOMMENDATION REGARDING THE
                      TOSHIBA DEFENDANTS’ MOTION TO COMPEL ARBITRATION
                                      Case No. C 11-6397 SC
                                          MDL No. 1917
      Case 4:07-cv-05944-JST Document 1477-1 Filed 12/05/12 Page 4 of 6




 1   To The Honorable Samuel Conti, United States District Judge:
 2           On August 24, 2012, Defendants Toshiba Corporation, Toshiba America, Inc.,
 3   Toshiba America Information Systems, Inc., Toshiba America Consumer Products,
 4   L.L.C., and Toshiba America Electronic Components, Inc. (collectively, the “Toshiba
 5   Defendants”) filed a Motion to Compel Arbitration (Docket No. 1332) against Costco
 6   Wholesale Corporation (“Costco”). On October 30, 2012, the Special Master heard oral
 7   argument on this motion by counsel for the Toshiba Defendants and counsel for Costco.
 8   Having carefully considered the briefs and other submissions of the Toshiba Defendants
 9   and Costco, the Special Master recommends that the motion should be GRANTED in
10   part as follows.
11          1.       The Toshiba Defendants’ Motion to Compel Arbitration is granted with
12   the exception of claims for co-conspirator or joint and several liability based upon
13   Costco’s purchase of products from defendants other than the Toshiba Defendants (the
14   “non-arbitrable claims”);
15          2.       All other claims against the Toshiba Defendants, including all claims
16   based on Costco’s direct and indirect purchases of Toshiba products, are referred to
17   arbitration and dismissed (the “arbitrable claims”);
18          3.       Costco must arbitrate all arbitrable claims against the Toshiba Defendants
19   in accordance with the August 2, 1995 Vendor Agreement with Toshiba America
20   Consumer Products, Inc. (“Vendor Agreement”);
21          4.       The Special Master finds that the language in the Vendor Agreement’s
22   arbitration clause, which applies to “[a]ll claims and disputes that . . . arise out of or relate
23   to” the Vendor Agreement, provides adequate jurisdiction for the Toshiba Defendants’
24   demand to arbitrate;
25          5.       The arbitration clause is binding on the corporate affiliates and successor
26   of signatory Toshiba America Consumer Products, Inc. because Costco has alleged that
27   all of the present Toshiba Defendants are agents for one another and the claims against
28   them are deemed arbitrable (see In re TFT-LCD (Flat Panel) Antitrust Litig., No. M 07-
                        REPORT AND RECOMMENDATION REGARDING THE
                     TOSHIBA DEFENDANTS’ MOTION TO COMPEL ARBITRATION
                                     Case No. C 11-6397 SC
                                         MDL No. 1917
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 1    1827 SI, 2011 WL 4017961, at *7 (N.D. Cal. Sept. 9, 2011) (“To the extent it purchased
 2    LCD panels pursuant to vendor agreements, Costco must arbitrate its claims against the
 3    corporate affiliates of the signatories to those vendor agreements.”));
 4            6.      The language in the arbitration clause that provides that “PriceCostco or
 5    Vendor may bring court proceedings or claims against each other (i) solely as part of
 6    separate litigation commenced by an unrelated third party . . .” does not invalidate
 7    Costco’s obligation to arbitrate in this case. Had Costco remained part of the class action,
 8    it might have had a valid argument. Costco, however, filed its own action, which is
 9    merely parallel to (not part of) the class action. Thus, the “solely as part of” language
10    does not apply;
11            7.      The Special Master agrees with Costco that, to the extent that its complaint
12    raises a claim against the Toshiba Defendants based strictly on co-conspirator or joint and
13    several liability, such a claim is not subject to arbitration;
14            8.      Dismissal of the arbitrable claims is more appropriate than a stay in this
15    case and the arbitrable claims are therefore severed from the non-arbitrable claims and
16    are dismissed from this action; and
17            9.      The issue of which damage standards apply is one for the arbitrator, not
18    the Court, to decide. If a party disagrees with the arbitrator’s decision, that party’s
19    remedy lies in challenging the arbitral decision.
20
21   Respectfully submitted,
22
23   Dated: _______________, 2012
24                                                             ________________________
25                                                             The Honorable Charles A. Legge (Ret.)
                                                               Special Master
26
27
28
                         REPORT AND RECOMMENDATION REGARDING THE
                      TOSHIBA DEFENDANTS’ MOTION TO COMPEL ARBITRATION
                                      Case No. C 11-6397 SC
                                          MDL No. 1917
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 1   Recommendation: Approved / Modified / Rejected.
 2
     Dated: _______________, 2012
 3
                                                       ________________________
 4
                                                       The Honorable Samuel Conti
 5
                                                       Northern District of California
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                       REPORT AND RECOMMENDATION REGARDING THE
                    TOSHIBA DEFENDANTS’ MOTION TO COMPEL ARBITRATION
                                    Case No. C 11-6397 SC
                                        MDL No. 1917
                                              4
